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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                         )
In re:                                   )                        Chapter 11
                                         )
HIGHLAND CAPITAL MANAGEMENT, L.P.        )                        Case No. 19-34054 (SGJ11)
                                         )
     Debtors.                            )                        (Jointly Administered)
                                         )
                                         )
                                         )
HIGHLAND CAPITAL MANAGEMENT, L.P., )
                                         )
     Plaintiff,                          )
                                         )
     v.                                  )                        Adv. Pro. No. 21-03000 (SGJ11)
                                         )
HIGHLAND CAPITAL MANAGEMENT FUND )
ADVISORS, L.P., NEXPOINT ADVISORS, L.P., )
HIGHLAND INCOME FUND, NEXPOINT           )
STRATEGIC OPPORTUNITIES FUND,            )
NEXPOINT CAPITAL, INC., AND CLO          )
HOLDCO, LTD,                             )
                                         )
     Defendants.                         )
                                         )
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             WITNESS AND EXHIBIT LIST OF HIGHLAND CAPITAL
         MANAGEMENT FUND ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
              HIGHLAND INCOME FUND, NEXPOINT STRATEGIC
            OPPORTUNITIES FUND, AND NEXPOINT CAPITAL, INC.

         Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.

(together, the “Advisors”), and Highland Income Fund, NexPoint Strategic Opportunities

Fund, and NexPoint Capital, Inc. (together, the “Funds”), hereby file this Witness and Exhibit

List for the hearing to consider the Plaintiff’s Emergency Motion for a Temporary Restraining

Order and Preliminary Injunction against Certain Entities Owned and/or Controlled by Mr.

James Dondero [Docket No. 9], which is currently scheduled for January 13, 2021 at 9:30

a.m. (Central Time) in the above-captioned adversary proceeding.

I.       Documents that the Advisors and Funds May Use as Exhibits:

Exhibit     Description              Offered       Objection        Admitted  Admitted
No.                                                                 by
                                                                    Agreement
1.          Exhibits listed in the
            Debtor’s Witness and
            Exhibit List [Docket
            No. 13]
2.          December 28, 2020
            Letter from K&L
            Gates to Pachulski
3.          CLOs Review [Case
            No. 19-34054, Docket
            No. 1670-1]


The Funds and Advisors reserve the right to supplement this Exhibit List, and reserve the right

to rely upon any Exhibits included on the Witness and Exhibit List filed on behalf of CLO

Holdco Ltd.

II.      Witnesses that the Funds and Advisors May Call to Testify:




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       1.     The Witnesses identified in the Debtor’s Witness and Exhibit List [Docket No.

13].

The Funds and Advisors reserve the right to supplement this Witness List, and reserve the

right to call any Witnesses included on the Witness and Exhibit List filed on behalf of CLO

Holdco Ltd.

       Dated: January 10, 2021

                                           MUNSCH HARDT KOPF & HARR, P.C.

                                           By: /s/ Davor Rukavina
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                                                - and -

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                                                Opportunities Fund, and NexPoint Capital, Inc.


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                            CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2021, I caused the foregoing document to be
served via electronic email through the Court’s CM/ECF system to the parties that have
requested or consented to such service.

                                                /s/ Davor Rukavina
                                                Davor Rukavina
